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Entered: July 26th, 2024
Signed: July 25th, 2024

SO ORDERED




                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF MARYLAND
                                            (Baltimore Division)

           In Re:

           Thomas P. Snyder                                   Case No.: 19-20606-NVA
                                                              Chapter 13
                            Debtor
                           ORDER AUTHORIZING EMPLOYMENT OF, COMPENSATION
                           TO, AND DISBURSEMENT OF COMPENSATION TO, REALTOR

                    Upon consideration of the application of the Debtor for authority to employ and

         compensate Melissa Kesner-Fultz to sell the real property located at 811 W. 35th St., Baltimore,

         MD 21211, and the Affidavit of Melissa Kesner-Fultz pursuant to F. R. Bankr. P. 2014(a), it

         appearing to this Court that is duly qualified to represent the Debtor in regard to the selling the

         Property, with the Court being satisfied that does not hold or represent an interest materially

         adverse to either the Debtor or the bankruptcy estate with respect to the matter said realtor is to

         be employed and that the employment of as a realtor is necessary and would be in the best

         interest of the Debtor, the bankruptcy estate, and his creditors, it is, by the United States

         Bankruptcy Court for the District of Maryland,

                    ORDERED, that the Debtor’s Application for Authorization to Employ, Compensate and

         Disburse Compensation to Realtor be, and hereby is, APPROVED; and it is further,
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       ORDERED, that the Debtor be, and hereby is, authorized to employ Melissa Kesner-

Fultz to sell the real property located at 811 W. 35th St., Baltimore, MD 21211 pursuant to all

terms and conditions contained in the application, and it is further,

       ORDERED, that Melissa Kesner-Fultz be, and hereby is, allowed compensation in the

amount of 5.0% of the gross sales price payable solely from the proceeds of sale of any sale

procured by said realtor as either a broker or co-broker upon consummation of an unconditional

settlement of the aforesaid real property, with said approval subject solely to the disposition of

objections, if any, filed in response to any notice of proposed sale which discloses the amount of

compensation proposed to be paid to said realtor, and it is further,

       ORDERED, that the Debtor be, and hereby is, authorized to disburse an amount equal to

5.0% of the gross sales price to said realtor as and for compensation without further order of

court, with the said disbursement payable solely from the proceeds of sale of any sale procured

by said realtor as either a broker or co-broker upon consummation of an unconditional settlement

of the aforesaid real property, with said authorization subject solely to the disposition of

objections, if any, filed in response to any notice of proposed sale which discloses the amount of

compensation proposed to be paid to said realtor, with total compensation paid hereunder not to

exceed 5.0% of the gross sales price.

cc:    Debtor
       Debtor’s Counsel
       Chapter 13 Trustee

       Melissa Kesner-Fultz
       Coldwell Banker Realty
       6031 University Blvd. Suite 100
       Ellicott City, MD 21043-6097

       U.S. Trustee

                                         END OF ORDER
